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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

IMPLICIT, LLC,                                         §
                                                       §
                                                       §   CIVIL ACTION NO. 6:17-CV-00336-JRG
                  Plaintiff,                           §
                                                       §
v.                                                     §
                                                       §
PALO ALTO NETWORKS, INC.,                              §
                                                       §
                  Defendant.                           §


              ORDER DENYING DEFENDANT PALO ALTO NETWORKS, INC’S
                         MOTION TO TRANSFER VENUE
          Before the Court is Defendant Palo Alto Networks, Inc.’s (“PAN”) Motion to Transfer

Venue to the Northern District of California (Dkt. No. 23) pursuant to 28 U.S.C. § 1404(a). Having

considered the Motion and all relevant authorities, the Court is of the opinion that, for the reasons

below, the Motion should be DENIED.

     I.      Background

          Implicit, LLC (“Implicit”) is a limited liability company that was originally formed under the

laws of the state of Washington. (Dkt. No. 33 at 2). On March 3, 2017, Implicit registered with the

Texas Secretary of State and formally moved its principal place of business to Austin. (Id.) Implicit

has asserted four patents against PAN in this action: U.S. Patent Nos. 8,694,683 (the “’683 patent”);

9,270,790 (the “’790 patent”); 9,325,740 (the “’740 patent”); and 9,591,104 (the “’104 patent”)

(collectively, the “patents in suit”). Implicit notes that the patents in suit have been asserted in other

actions before this Court against other parties. (Id. at 3).

          PAN is “a worldwide provider of a wide suite of enterprise-level next generation firewalls with

a diverse range of security features.” (Dkt. No. 23 at 4). PAN is headquartered in Santa Clara,
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California, and has its principal place of business in Santa Clara, which is within the Northern District

of California. (Id.) PAN “also maintains sales support centers in . . . Plano, Texas” among other

locations, including “31 countries outside of the U.S.,” which “provide general sales and technical

support for all of Palo Alto Networks’ products and services” (Id. at 4–5).

    II.      Applicable Law

          Section 1404(a) provides that “[f]or the convenience of parties and witnesses, in the interest

of justice, a district court may transfer any civil action to any other district or division where it

might have been brought.” 28 U.S.C. § 1404(a). The purpose of Section 1404(a) is “to prevent

the waste ‘of time, energy and money’ and ‘to protect litigants, witnesses and the public against

unnecessary inconvenience and expense.” Van Dusen v. Barrack, 376 U.S. 612, 616 (1964)

(quoting Cont’l Grain Co. v. Barge F.B.L.—585, 364 U.S. 19, 26, 27 (1960)).

          The first inquiry when analyzing a case’s eligibility for § 1404(a) transfer is “whether the

judicial district to which transfer is sought would have been a district in which the claim could

have been filed.” In re Volkswagen AG, 371 F.3d 201, 203 (5th Cir. 2004) (“Volkswagen I”).

Once that threshold is met, courts analyze both public and private factors relating to the

convenience of parties and witnesses, as well as the interests of particular venues in hearing the

case. See Humble Oil & Ref. Co. v. Bell Marine Serv., Inc., 321 F.2d 53, 56 (5th Cir. 1963); In re

Nintendo Co., Ltd., 589 F.3d 1194, 1198 (Fed. Cir. 2009). The private factors are: (1) the relative

ease of access to sources of proof; (2) the availability of compulsory process to secure the

attendance of witnesses; (3) the cost of attendance for willing witnesses; and (4) all other practical

problems that make trial of a case easy, expeditious, and inexpensive. Volkswagen I, 371 F.3d at

203. The public factors are (1) the administrative difficulties flowing from court congestion; (2)

the local interest in having localized interests decided at home; (3) the familiarity of the forum

with the law that will govern the case; and (4) the avoidance of unnecessary problems of conflict
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of laws or in the application of foreign law. Volkswagen I, 371 F.3d at 203. These factors are to

be decided based on “the situation which existed when suit was instituted.” Hoffman v. Blaski,

363 U.S. 335, 343 (1960). Though the private and public factors apply to most transfer cases,

“they are not necessarily exhaustive or exclusive,” and no single factor is dispositive. In re

Volkswagen of Am., Inc., 545 F.3d 304, 314–15 (5th Cir. 2008) (“Volkswagen II”).

           While a plaintiff’s choice of venue is not an express factor in this analysis, the appropriate

deference afforded to the plaintiff’s choice is reflected in a defendant’s elevated burden of proof.

Id. at 315. In order to support its claim for a transfer under § 1404(a), the defendant must

demonstrate that the transferee venue is “clearly more convenient” than the venue chosen by the

plaintiff. Id. Absent such a showing, the plaintiff’s choice is to be respected.

    III.      Analysis

           PAN asserts, and Implicit does not dispute, that this case could have been brought in the

Northern District of California. (Dkt. No. 23 at 7). PAN concedes that “Palo Alto Networks has

its principal place of business in Santa Clara, California and is subject to personal jurisdiction in

the N.D. Cal.” (Id.) With these concessions, the Court agrees that this case could have been

properly brought in the Northern District of California, satisfying the threshold requirement for

transfer under § 1404(a).

           The Court next addresses the applicable private and public interest factors, in turn, and

addresses the Parties’ arguments as appropriate. As an initial matter, both Parties concede that the

public factors relating to familiarity of the forum with the law that will govern the case and the

avoidance of unnecessary problems of conflicts of law are neutral factors in this analysis. (Dkt.

No. 23 at 14; Dkt. No. 33 at 15). The Court agrees and proceeds to consider the remainder of the

factors.



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       i.      The Relative Ease of Access to Sources of Proof

       The first private interest factor considering access to sources of proof pertains to where

documentary evidence, such as documents and physical evidence, is stored. See Volkswagen II,

545 F.3d at 316 (discussing the location of documents and physical evidence relating to a vehicle

accident). The critical inquiry “is [the] relative ease of access, not absolute ease of access.” In re

Radmax, 720 F.3d 285, 288 (5th Cir. 2015).

       This factor is heavily influenced by which party will likely have the greater volume of

evidence and the location where that evidence will come from. Fujitsu Ltd. v. Tellabs, Inc., 639

F. Supp. 2d 761, 767 (E.D. Tex. 2009); In re Genentech, 566 F.3d 1338, 1345 (Fed. Cir. 2009).

Generally, in “patent infringement cases, the bulk of the relevant evidence usually comes from the

accused infringer.” Id. (internal quotation marks omitted). The access to sources of proof relates

to production of evidence in preparation for trial, i.e., bringing physical materials to the Court for

exhibition before the factfinder. See In re TS Tech USA Corp., 551 F.3d 1315, 1321 (Fed. Cir.

2008) (considering only “physical and documentary evidence” in analyzing the first factor).

       As to PAN’s sources of proof, this factor looks at where the documents are located—not

at where the individuals who are collecting or producing them are, or may be, located. SSL Servs.,

LLC v. Cisco Sys., Inc., No. 2:15-cv-00433-JRG-RSP, 2016 WL 727673, at *3 (E.D. Tex. Feb. 24,

2016) (quoting In re Genentech, 566 F.3d 1338 at 1345 (Fed. Cir. 2009) (“the Federal Circuit has

emphasized that the physical location of evidence remains an important consideration in the venue

analysis irrespective of the ease with which it can be remotely accessed; else this factor would be

‘superfluous’”). As this Court has noted, while “technological advances have significantly

lightened the relative inconvenience of transporting large amounts of documents across the



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country, [] the physical accessibility to sources of proof is still a private interest factor to be

considered. Until the appellate courts address this reality, trial courts must continue to apply this

factor consistent with current precedent.” SSL Servs., 2016 WL 727673 at *3 (citing Volkswagen

II and Genentech).

       The Parties have differing views of the location, scale, and weight of the proof to be

accessed. PAN argues that its “relevant documents, source code, and other electronic and hard

copy data are located at its headquarters in the N.D. Cal., which documents and data are related to

the development, design, marketing, product management, sales, and financial reporting for the

accused products, as well as hard copy documents and exemplary products,” all of which is

“material to the issues of non-infringement and damages.” (Dkt. No. 23 at 8).

       Implicit argues that PAN “has conceded that the relevant documents and source code

maintained on its servers are equally accessible regardless of location.” (Dkt. No. 33 at 7).

However, as discussed, it is not the accessibility of the documents but their actual physical location

(here, where the servers are located). That is the focus of this inquiry. In re TS Tech USA Corp.,

551 F.3d 1315, 1321 (Fed. Cir. 2008) (where “all of the physical evidence, including . . . the

documentary evidence,” was “far more conveniently located near the [transferee] venue, the

district court erred in not weighing this factor in favor of transfer,” even though “ many of the

documents were stored electronically”). Accordingly, Implicit’s arguments regarding the

accessibility of PAN’s documents from sources outside the Northern District of California are not

persuasive.

       Implicit submits that it maintains “its corporate and other records in Texas” (specifically,

in Austin and not within this District) and that “numerous third-party sources of proof may be

found within this District and the state of Texas.” (Id. at 7). Specifically, Implicit points to



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“documents regarding Implicit’s (and its predecessor, Implicit Networks Inc.’s) product

development and licensing efforts” with various Texas entities, located both inside and outside of

this District, that “the patents-in-suit and their related families, including continued prosecution, are

currently managed by Dean Munyon of Meyertons, Hood, Kivlin, Kowert & Goetzel, P.C. in Austin,

Texas, where all of Implicit’s patent prosecution records reside.”

        PAN argues that “to the extent Implicit has moved its documents to Austin earlier this year

in anticipation of litigation, those documents should not be considered as part of the Court’s

transfer analysis.” (Dkt. No. 23 at 8–9 (citing DSS Tech. Mgmt., Inc. v. Apple, Inc., No. 6:13-cv-

919-JDL, 2014 WL 6847569, at *3 (E.D. Tex. Nov. 7, 2014)). However, DSS Tech. does not stand

for such a broad proposition. Implicit maintains its corporate and other records in Texas and

maintains its principle place of business in Texas. PAN does not point to an alternative location

to which it believes these documents should be more properly attributed. Accordingly, Implicit’s

Texas location is a factor that must be considered in the venue transfer analysis. See, e.g.,

NovelPoint Learning LLC v. LeapFrog Enterprises, Inc., 2010 WL 5068146 (E.D. Tex. Dec. 6,

2010) (plaintiff formed four months before filing suit, was organized under Texas law, and had its

principal place of business in the EDTX (*1), formation four months before complaint was filed

not “recent” under Federal Circuit precedent (*5)). PAN argues further that none of the third-party

entities with whom Implicit has licensing agreements with were identified in Implicit’s initial

disclosures nor has Implicit produced the agreements.           However, as Implicit points out, for

documents relating to the patents-in-suit and the technology at issue are prima facie relevant, as

this Court has already recognized. See Implicit, LLC v. Trend Micro, Inc., No. 6:16-cv-00080-

JRG, 2016 WL 9245067, at *3 (E.D. Tex. Sept. 1, 2016) (relying on those documents in noting

that “[b]oth parties have identified relevant evidence . . . located in or near both EDTX and



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NDCA” and finding that “there are greater and more significant sources of proof located in or near

EDTX” in holding the factor “weighs against transfer.”).

         While PAN has demonstrated that more relevant evidence appears to be located in NDCA,

both parties have identified significant relevant evidence located in or near both EDTX and NDCA,

respectively. Accordingly, this factor weighs only slightly in favor of transfer.1

         ii.      Availability of Compulsory Process to Secure the Attendance of Witnesses

         The second private interest factor instructs the Court to consider the availability of

compulsory process to secure the attendance of witnesses, particularly non-party witnesses whose

attendance may need to be secured by a court order. See In re Volkswagen II, 545 F.3d at 316.

Third-party subpoena power is governed by Fed. R. Civ. P. 45, which, as recently amended in

2013, provides the presiding court with nationwide subpoena power to order third-party witnesses

to attend deposition, so long as the deposition is to take place within 100 miles of the witness's

residence or regular place of business. Fed. R. Civ. P. 45(a)(2), 45(c)(1)(A); see VirtualAgility,

Inc. v. Salesforce.com, Inc., 2:13-CV-00011-JRG, 2014 WL 459719, at *4 (E.D. Tex. Jan. 31,

2014).

         PAN submits that “[n]on-party witnesses important to the claims and defenses in this case

reside in or near, and are subject to compulsory process with, the N.D. Cal.” (Dkt. No. 23 at 11).

Specifically, PAN points to three authors of “the prior art references relied upon by Defendant

Trend Micro in its invalidity expert report in its litigation against Implicit.” (Id.) Implicit derides


1
  The Court notes that there is an uncertainty as to the relative weight a district court should apply to the various
Volkswagen factors under controlling Federal Circuit precedent. While the Fifth Circuit has expressly held that “none
[of the factors] can be said to be of dispositive weight,” Volkswagen II 545 F.3d at 315 (quoting Action Indus., Inc. v.
U.S. Fid. & Guar. Corp., 358 F.3d 337, 340 (5th Cir. 2004)), the Federal Circuit has stated that “the convenience of
the witnesses is probably the single most important factor in a transfer analysis,” under Fifth Circuit law In re Google
Inc., No. 2017-107, 2017 WL 977038, at *3 (Fed. Cir. Feb. 23, 2017) (quoting In re Genentech, Inc., 566 F.3d 1338,
1343 (Fed. Cir. 2009)). Injecting additional uncertainty to this inquiry, the Federal Circuit made this statement
regarding the convenience of witnesses in the context of evaluating the district court’s evaluation of the “locations
and sources of proof” factor. In re Google Inc., 2017 WL 977038, at *3.

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this as an overly restrictive view, pointing to “the remaining 124 alleged prior artists PAN has

included in its invalidity contentions,” and the fact that one of the three Trend Micro prior art

references upon which PAN relies was not asserted in that trial. (Dkt. No. 33 at 11–12). Implicit

also points to the “dozens of distributors and resellers of the accused products—which PAN terms

‘key partners’—[who are] located in Texas and in this District” and that “other third-party

technical advisors and licensees are located within Texas and are subject to compulsory process.”

(Dkt. No. 37 at 4).

         “The venue analysis, by its nature, calls on courts to weigh scenarios that tend to be

speculative and conjectural.” Oyster Optics v. Cisco Systems, Inc., No. 2:16-cv-1301-JRG, Dkt.

No. 45 at 7 (E.D. Tex. Dec. 8, 2017) (further noting that “[t]his Court has lost count of the venue

motions supported by declarations that Third Party X, located in the transferee venue, is ‘vital’ to

the case, only to see neither hide nor hair of Third Party X when the case comes to trial.”). The

Court again faces such a speculative inquiry.

         It is important to note that PAN does not identify any non-party witnesses beyond the three

related to the Trend Micro case in its argument on this factor. However, PAN has identified in

pre-trial disclosures, “five third-party witnesses—none of whom reside in California, and two of

whom reside in Texas.” (Dkt. No. 33 at 10–11). Further, Implicit has noted a wide spectrum of

other prior art authors beyond the three selected by PAN for its argument on this point who may

ultimately be called by PAN.

         In this case, in light of the fact that each forum is more convenient to some of the identified

witnesses, the facts presented by the Parties are such that this factor neither favors nor disfavors

transfer. This factor is neutral.2


2
 The Fifth Circuit has cautioned that, with respect to the Volkswagen factors as a whole, it “do[es] not suggest—nor
has this court held—that a raw counting of the factors in each side, weighing each the same and deciding transfer only

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         iii.     Cost and Attendance for Willing Witnesses

         The third private interest factor is the cost of attendance for willing witnesses. “When the

distance between an existing venue for trial of a matter and a proposed venue under § 1404(a) is

more than 100 miles, the factor of inconvenience to witnesses increases in direct relationship to

the additional distance to be traveled.” Volkswagen I, 371 F.3d at 204–05. However, as other

courts in this Circuit have noted, the convenience of party witnesses is given less weight. ADS Sec.

L.P. v. Advanced Detection Sec. Servs., Inc., No. A-09-CA-773-LY, 2010 WL 1170976, at *4

(W.D. Tex. Mar. 23, 2010), report and recommendation adopted in A-09-CA-773-LY (Dkt. No.

20) (W.D. Tex. Apr. 14, 2010) (“[I]t is unclear whether Defendant is contending that the transfer

would be more convenient for non-party witnesses or merely for their own employee witnesses. If

the Defendant is referring to employee witnesses, then their convenience would be entitled to little

weight.”). See also Vassallo v. Goodman Networks, Inc., No. 5:14-cv-743-DAE, 2015 WL 502313,

at *4 (W.D. Tex. Feb. 5, 2015) (noting that the convenience of non-party witnesses is given more

weight in the transfer analysis than the convenience of party witnesses); Summit 6 LLC v. HTC

Corp., No. 7:14-cv-0014-O, 2014 WL 4449821, at *7 (N.D. Tex. Sept. 10, 2014) (same); RPost

Holdings, Inc. v. StrongMail Sys., Inc., No. 2:12-cv-515-JRG, 2013 WL 4495119, at *4 (E.D. Tex.

Aug. 19, 2013) (same).

         PAN argues that “Here, all of Palo Alto Networks’ likely witnesses live in the N.D. Cal.,

while none lives in or near [the Eastern District of Texas].” (Dkt. No. 23 at 9). Specifically, PAN

points to six likely witnesses, all its own employees, who reside in the Northern District of




on the resulting ‘score,’ is the proper methodology.” In re Radmax, Ltd., 720 F.3d 285 at 290 n.8 (5th Cir. 2013).
The same holds true for an evaluation of any specific factor. Here, where there are some number of third-party
witnesses favor each side with no clear imbalance decisively indicating how the factor should be resolved, it is
appropriately, neutral. If the Court were to engage in counting, it would invite gamesmanship in an already speculative
inquiry, encouraging both sides to over-designate witnesses in an attempt to have a higher “count” than the other.

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California. (Dkt. No. 23 Ex. 13 at 2–3). Implicit points to the fact that “[Implicit’s] principal—

the inventor of the patents-in-suit,” Mr. Balassanian, lives in Austin, TX, and Implicit’s

prosecuting attorneys, who maintain Implicit’s prosecution file, are also based in Austin. (Dkt.

No. 33 at 10).

         PAN argues that the location of these witnesses in Austin does not weigh against transfer

as “[t]ravel to Tyler, Texas would thus entail a four-hour-plus drive.” (Dkt. No. 36 at 4). The

Court agrees that it is not as convenient, perhaps, as a location based in this District, where

convenience may be presumed, but the convenience of travel to Tyler from Austin cannot be

disregarded compared to travel out of state to San Francisco. The Court notes that while PAN

points to what is essentially the door-to-door time of Mr. Balassanian’s travel from Austin to Tyler,

PAN ignores the head and tail travel time inherent in PAN’s proposed “direct flight[] from Austin

to San Francisco” in “less than four hours.”

         Additionally, Implicit notes that it has “previously engaged Professors T.S. Eugene Ng of Rice

University and Scott Nettles of the University of Texas as technical consultants related to the patents-

in-suit.” (Id. at 7–8). These consultants are properly evaluated under the third factor, and weigh against

transfer.3

         Given that both sides have identified numerous witnesses in or near either forum,4 the Court

finds that this factor, on the whole, is neutral.

         iv.   All Other Practical Problems That Make Trial of a Case Easy, Expeditious,
         and Inexpensive




3
  It appears to the Court that these witnesses are properly classified as willing third-party witnesses with no dispute
between the parties as to their nature as such. Accordingly, they are properly considered in the third factor.
4
  For the reasons identified supra in Note 2, the Court does not engage in any direct counting comparison of the
witnesses identified by the Parties in evaluating this factor.

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          This final private interest factor pertains to “all other practical problems that make trial of

a case easy, expeditious and inexpensive,” In re Radmax, Ltd., 720 F.3d 285, 288 (5th Cir. 2013),

including those problems “that are rationally based on judicial economy.” DSS Tech., 2014 WL

6847569, at *4.

          PAN argues that “[a]lthough this Court has experience with the Patents-in-Suit, the N.D.

Cal. likewise has experience, and a compelling showing on the other transfer factors requires

transfer regardless of whether the same court is dealing with the same patents in other suits.” (Dkt.

No. 23 at 12 (citing In re Verizon Bus. Network Serv. Inc., 635 F.3d 559, 562 (Fed. Cir. 2011) and

GeoTag, Inc. v. Starbucks Corp., No. 2:10-cv-572, 2013 WL 890484 at *6 (E.D. Tex. Jan. 14,

2013)).

          However, as Implicit points out, “[t]his Court has extensive and recent experience with

Implicit, its technology, and the patents-in-suit. It has recently presided over lawsuits brought by

Implicit against five different defendants, one of which was litigated through extensive pre-trial

proceedings and to the eve of jury selection.” (Dkt. No. 33 at 12 (citing (Implicit LLC v. Trend

Micro, Inc., Case No. 6:16-cv-080 (E.D. Tex.); Implicit LLC v. NEC Corp. of Am., Case No. 6:16-

cv-00078 (E.D. Tex.); Implicit LLC v. Huawei, Inc. et al., Case No. 16-cv-00182 (E.D. Tex.)).

Indeed, this Court has recently construed the Patents-in-Suit. See Implicit LLC v. Trend Micro,

Inc., Case No. 2:16-cv-080 (E.D. Tex.) (Dkt. No. 115 (March 29, 2017)).

          Retention of this case furthers the interests of judicial economy and thus weighs against

transfer. See, e.g., In re Vicor Corp., 493 Fed. Appx. 59, 61 (Fed. Cir. 2012) (non-precedential)

(“We have held that the existence of multiple lawsuits involving the same issues is a paramount

consideration when determining whether a transfer is in the interest of justice. . . . Judicial economy

may be served even when two related cases before the same court may not involve the same



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defendants and accused products.”) (internal citations omitted); In re Vistaprint Ltd., 628 F.3d

1342, 1347 (Fed. Cir. 2010) (“it is entirely within the district court’s discretion to conclude that in

a given case the § 1404(a) factors of public interest or judicial economy can be of ‘paramount

consideration,’ and as long as there is plausible support of record for that conclusion we will not

second guess such a determination, even if the convenience factors call for a different result.”).

       Considering the relevant facts under this factor, and in the light of the Circuit’s guidance,

this factor weighs against transfer.

       v.        Administrative Difficulties Flowing From Court Congestion

       The first public interest factor addresses the administrative difficulties flowing from court

congestion.

       PAN argues that because “[t]his case is currently scheduled to go to trial in October 2018”

and “[t]he most recent Federal Judicial Caseload Statistics show that the median time to resolve a

case is 7.3 months in the N.D. Cal. and the median time to trial is approximately 23 months,” this

factor should be neutral. (Dkt. No. 23 at 13). Implicit notes that “2017 year-to-date median time

to trial in patent cases was 29.3 in the Northern District of California, 26.4 in the Eastern District

of Texas, and 21.6 in this Court.” (Dkt. No. 33 at 14).

       The Court notes that a “difference in time to trial as material, especially when a transferred

case usually ‘goes to the back of the line’ in relation to the transferee court’s existing docket.”

Oyster Optics, 2017 WL 4225202, at *7. This is further exacerbated by the delay transfer generally

entails with respect to the ramp-up the transferee court must undertake to permit the case to proceed

towards trial.

       Taking these facts into consideration, the Court finds this factor to weigh against transfer.

See Net Nav. Sys., LLC v. Cisco Sys., Inc., No. 4:11-cv-660, 2012 WL 7827544, at *6 (E.D. Tex.



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Aug. 24, 2012), report and recommendation adopted, No. 4:11-cv-660, 2013 WL 1309840 (E.D.

Tex. Mar. 27, 2013) (“[R]esolution of this case could not occur any sooner following transfer to

the Northern District of California, and it is likely that the parties would receive a trial setting

significantly after the current trial scheduling of October 7, 2013. Therefore, the Court finds this

factor weighs against transfer, since transfer would result in an unknown trial date and a significant

delay in a resolution on the merits”); Oyster Optics, 2017 WL 4225202, at *7 (same).

         vi.      Local Interest in Having Localized Interests Decided at Home

         The second public interest factor addresses the local interest in having localized interests

decided at home. This factor analyzes the “factual connection” that a case has with both the

transferee and transferor venues. Genentech, 566 F.3d at 1347.

         PAN argues that “the N.D. Cal. has a particular local interest in adjudicating this dispute

because Palo Alto Networks is headquartered in that district, all of the relevant design and

development activity occurred there, and all of Palo Alto Networks’ likely witnesses are located

there.” (Dkt. No. 23 at 14).

         Finding a local interest in favor of PAN, due to the presence of headquarters or other

significant presence in a district, without more, amounts to an argument that “California has a

localized interest in resolving this dispute because its jurors will be biased toward the defendant.”

Ingeniador, LLC v. Adobe Sys. Inc., No. 2:12-cv-805-JRG, 2014 WL 105106, at *4 (E.D. Tex. Jan.

10, 2014). However, as Implicit does not dispute, there is no local interest in this District based

on Implicit’s presence or otherwise. Neither Implicit’s presence in the Western District nor its

nature as a Texas company impacts this factor. Accordingly, this factor weighs in favor of transfer.

   IV.         Conclusion




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     .
         Having considered the governing statute, applicable precedents, and the relevant

convenience factors,5 the Court finds that Defendant has not satisfied its elevated burden to

demonstrate that the transferee district is a clearly more convenient forum as to this particular

case.6 Accordingly, Defendant PAN’s Motion to Transfer to the Northern District of California,

(Dkt. No. 23), is hereby DENIED.

         Further, PAN’s Motion to Stay (Dkt. No. 82) is, accordingly, DENIED AS MOOT.
          SIGNED this 19th day of December, 2011.
         So ORDERED and SIGNED this 20th day of February, 2018.




                                                                         ____________________________________
                                                                         RODNEY GILSTRAP
                                                                         UNITED STATES DISTRICT JUDGE




5
  The Court recognizes and agrees that, while judicial economy may “play a significant role” in a court’s transfer
analysis, it may not “dominate” the analysis when other factors of note are present, In re Google, No. 2017-107, 2017
U.S. App. LEXIS 4848 at *5, 2017 WL 977038 (Fed. Cir. Feb. 23, 2017).
6
  Summary of factor holdings: (i) access to proof: “slightly in favor of transfer”; (ii) availability of compulsory process:
“neutral”; (iii) cost and attendance for willing witnesses: “neutral”; (iv) practical problems: “against transfer”; (v)
court congestion: “against transfer”; (vi) local interest: “in favor of transfer”; (vii) familiarity with the law: (agreed)
neutral; (viii) conflict of laws: (agreed) neutral.

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